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        ATTACHMENT 12
     Case 4:07-cv-05944-JST Document
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11                               UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN FRANCISCO DIVISION

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15   IN RE CATHODE RAY TUBE (CRT)                              Case No. 3:07-CV-05944
     ANTITRUST LITIGATION
16                                                             Case No. 12-MC-80151
17   IN RE EX PARTE APPLICATION FOR JUDICIAL                   [PROPOSED] ORDER DECIDING
     ASSISTANCE FOR THE ISSUANCE OF                            ADMINISTRATIVE MOTION TO
18   SUBPOENAS PURSUANT TO 28 U.S.C. § 1782                    CONSIDER WHETHER CASES
     TO OBTAIN DISCOVERY FOR USE IN A                          SHOULD BE RELATED
19   FOREIGN PROCEEDING
20   Sharp Corporation, Petitioner
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25                  A Motion for Administrative Relief to Consider Whether Cases Should be
26   Related pursuant to Civil L.R. 3-12 has been filed. The time for filing an opposition or statement
27   of support has passed. As the judge assigned to the earliest filed case below that bears my
28   initials, I find that the more recently filed case below, Ex Parte Application for Judicial

                                           -1-
           PROPOSED ORDER DECIDING WHETHER CASES ARE RELATED - Case No. 3:07-CV-05944
     Case 4:07-cv-05944-JST Document
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1    Assistance for the Issuance of Subpoenas Pursuant to 28 U.S.C. § 1782 to Obtain Discovery for

2    Use in a Foreign Proceeding, is related to the case assigned to me, Case No. 3:07-cv-5944 SC,

3    In Re Cathode Ray Tube (CRT) Antitrust Litigation, and such case is related and shall be

4    coordinated.

5    Case No. 3:07-cv-5944 SC, In Re Cathode Ray Tube (CRT) Antitrust Litigation
6    Case No. 12-MC-80151, Ex Parte Application for Judicial Assistance for the Issuance of
     Subpoenas Pursuant to 28 U.S.C. § 1782 to Obtain Discovery for Use in a Foreign Proceeding
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     I find that the above case is related to the case assigned to me.__XXX__
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     The administrative motion is HEREBY GRANTED and counsel are ORDERED as follows:
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                    Counsel are instructed that all future filings in any reassigned case are to bear the
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     initials of the newly assigned judge immediately after the case number.
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     Dated: July 5, 2012                                   ______________________________
13                                                         United States District Court Judge
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           PROPOSED ORDER DECIDING WHETHER CASES ARE RELATED - Case No. 3:07-CV-05944
